     Case 18-22422-MBK             Doc 12         Filed 07/05/18 Entered 07/05/18 15:51:16     Desc Main
                                                  Document     Page 1 of 4
UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
_________________________________
Caption in Compliance with D.N.J. LBR 9004-1(b)
Vera McCoy, Esq.
VMC Enterprises, LLC
 1134 So. Black Horse Pike
 #103
 Blackwood, NJ 08012
(856) 435-3360
 vmbankruptcy@yahoo.com
 Attorney for Debtor(s)

                                                                Case No.:        18-22422
 In Re:
                                                                Chapter:         7
 Henry R. Melzi
                                                                Judge:          MB Kaplan



              APPLICATION TO EXTEND THE TIME TO FILE MISSING DOCUMENTS

             I, Vera McCoy, am the attorney for the debtor in this case and submit this application in
      support of my request to extend the time within which I must file the balance of debtor's
      schedules. I am fully familiar with this case, and certify as follows:

               1. I filed debtor's bankruptcy on: June 20, 2018.

             2. When I filed the petition, I did not file all the documents required to be filed under
      chapter 7 of the Bankruptcy Code.

             3. As a result of my failure to file a complete petition, the court issued a Notice of
      Missing Documents and Notice of Dismissal if Documents Are Not Timely Filed. According to
      the Notice, I must file the balance of my schedules by July 5, 2018.

               4. I ☐ have, ☐X have not previously sought to extend the time within which the balance
      of my schedules must be filed.
     Case 18-22422-MBK         Doc 12    Filed 07/05/18 Entered 07/05/18 15:51:16               Desc Main
                                         Document     Page 2 of 4



       5. I am unable to file the balance of my schedules by the above date because: I have not
received all the documents and information that I need from my client to complete the filing.

       I certify under penalty of perjury that the foregoing statements are true.


Date: 07/05/2018                             /s/Vera McCoy, Esq.
                                             Attorney for Debtor
     Case 18-22422-MBK              Doc 12        Filed 07/05/18 Entered 07/05/18 15:51:16   Desc Main
                                                  Document     Page 3 of 4

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                                                                    Case No.: 18-22422
In Re:
                                                                    Chapter:     7
Henry R. Melzi                                                      Judge:       MB Kaplan



                                 ORDER CONCERNING APPLICATION TO
                               EXTEND TIME TO FILE MISSING DOCUMENTS

               The relief set forth on the following page is ORDERED.

      [Leave the rest of this page blank]
Case 18-22422-MBK        Doc 12    Filed 07/05/18 Entered 07/05/18 15:51:16              Desc Main
                                   Document     Page 4 of 4



        The Court having reviewed the debtor’s Application Time to Extend Time to
 File Missing Documents, and any related responses or objections, it is hereby

        ORDERED that:

         □ The debtor’s request to extend the time within which the missing documents must
 be filed is granted. The balance of the debtor’s schedules as set forth in the Court’s Notice of
 Missing Documents and Notice of Dismissal if Documents are Not Timely Filed must be
 received by the Court no later than                        . If all missing documents are not
 filed by this date, the case will be dismissed without further notice.

        □ The debtor’s request to extend the time to file missing documents is denied. The
 case is dismissed. All outstanding fees to the Court are due and owing and must be paid
 within 5 days of the date of this Order.
